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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------X             10/21/2020
SHIRLEY BURRIS,                                                :
                                                               :   17-CV-9289 (JGK) (RWL)
                                    Plaintiff,                 :
                                                               :   ORDER
                  - against -                                  :
                                                               :
HOUSING AND SERVICES INC., et al.,                             :
                                                               :
                                    Defendants.                :
---------------------------------------------------------------X

ROBERT W. LEHRBURGER, United States Magistrate Judge.

        The Court has reviewed the transcript of proceedings held on October 15, 2020,

before Judge Koeltl. By October 28, 2020, the parties shall file a joint letter with the

undersigned as to their current views on proceeding with discovery, a potential stay, and

any other issues they would like the Court to address.

                                                     SO ORDERED.



                                                     _______________________________
                                                     ROBERT W. LEHRBURGER
                                                     UNITED STATES MAGISTRATE JUDGE

Dated: October 21, 2020
       New York, New York

Copies transmitted this date to all counsel of record.
